                    Case 2:04-cr-00118-LKK Document 240 Filed 09/10/09 Page 1 of 9
AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case


                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE
                     v.                                             (For Offenses Committed On or After November 1, 1987)
               ROBERT OLIVER                                        Case Number: 2:04CR0118-001


                                                                    Scott Tedmon
                                                                    Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to counts: 2, 5, 6, 8 and 9 of the Indictment .
[]       pleaded nolo contendere to counts(s)         which was accepted by the court.
[]       was found guilty on count(s)       after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                       Date Offense             Count
Title & Section                      Nature of Offense                                 Concluded                Number(s)
18 USC 1343                          Wire Fraud                                        3/31/09; 6/3/99;         2,5,6,8,and 9
                                                                                       6/16/99; 7/21/99;
                                                                                       8/5/99



       The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)        and is discharged as to such count(s).
[U]      Counts 1, 3, 4, 7,10-19 of the Indictment are dismissed on the motion of the United States.
         Counts 20-30 of the Indictment are dismissed without prejudice pursuant to Court’s order filed 8/28/08.
[]       Indictment is to be dismissed by District Court on motion of the United States.
[]       Appeal rights given.                      [U]     Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                                    September 1, 2009
                                                                              Date of Imposition of Judgment




                                                                                Signature of Judicial Officer

                                                                 LAWRENCE K. KARLTON, United States District Judge
                                                                         Name & Title of Judicial Officer

                                                                                    September 10, 2009
                                                                                          Date
                    Case 2:04-cr-00118-LKK Document 240 Filed 09/10/09 Page 2 of 9
AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case
                    Case 2:04-cr-00118-LKK Document 240 Filed 09/10/09 Page 3 of 9
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:04CR0118-001                                                                Judgment - Page 3 of 9
DEFENDANT:                 ROBERT OLIVER


                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of 71
months on each of Counts 2, 5, 6, 8, and 9, all to be served concurrently for a total term of 71 months.




[U]      The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends that the defendant be incarcerated at an institution in Terminal Island or Lompoc, CA, but
         only insofar as this accords with security classification and space availability.


[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
                     Case 2:04-cr-00118-LKK Document 240 Filed 09/10/09 Page 4 of 9
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:                2:04CR0118-001                                                                                Judgment - Page 4 of 9
DEFENDANT:                  ROBERT OLIVER


                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months on each of Counts 2, 5, 6, 8,
and 9, to be served concurrently, for a total term of 36 months.


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[U]      The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[U]      The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register and comply with the requirements in the federal and state sex offender registration agency in the
         jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction where the defendant resides, is
         employed, or is a student. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                 STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
      each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
                    Case 2:04-cr-00118-LKK Document 240 Filed 09/10/09 Page 5 of 9
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:               2:04CR0118-001                                                            Judgment - Page 5 of 9
DEFENDANT:                 ROBERT OLIVER


                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United
              States probation officer, or any other authorized person under the immediate and personal
              supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
              Failure to submit to a search may be grounds for revocation. The defendant shall warn any
              other residents that the premises may be subject to searches pursuant to this condition.

         2.   The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or
              restitution order by this Judgment is paid in full, unless the defendant obtains approval of the
              Court or the probation officer.

         3.   The defendant shall provide the probation officer with access to any requested financial
              information.

         4.   The defendant shall not open additional lines of credit without the approval of the probation
              officer.

         5.   As directed by the probation officer, the defendant shall participate in a program of outpatient
              mental health treatment.

         6.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
              treatment or testing and shall make payment directly to the vendor under contract with the
              United States Probation Office of up to $25 per month.
                      Case 2:04-cr-00118-LKK Document 240 Filed 09/10/09 Page 6 of 9
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:04CR0118-001                                                                     Judgment - Page 6 of 9
DEFENDANT:                    ROBERT OLIVER

                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                     Assessment                    Fine                 Restitution
      Totals:                                         $ 500.00                      $                 $ 2,871,547.00


[]    The determination of restitution is deferred until         . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

[U] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
      specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
      all nonfederal victims must be paid before the United States is paid.


Name of Payee                                        Total Loss*           Restitution Ordered Priority or Percentage
(see attached)

TOTALS:                                                   $                         $




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
                      Case 2:04-cr-00118-LKK Document 240 Filed 09/10/09 Page 7 of 9
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:04CR0118-001                                                            Judgment - Page 7 of 9
DEFENDANT:                    ROBERT OLIVER


                                Victim/Name of Payee             Total Loss & Restitution Ordered

                              Tim Alexander                       $13,755
                              Dave Barber                          54,000
                              Judi Beck                           146,250
                              Linda Derrick                        25,000
                              Benny Fernandez                     198,300
                              Michael Fry                          72,000
                              Madge Gibson                         25,000
                              Chris Grubb                         250,000
                              James Hamman                        390,000
                              Lezley Heene                         48,500
                              Geanine Hodges                      150,000
                              Robert Holbrook                      50,000
                              Darlene Jay                         142,125
                              Scott Kelly                          44,250
                              Craig Landis                         40,000
                              Ronald Langill                       77,000
                              Ben and Marie                       100,000
                              Larralde
                              Chris Leppek                         35,000
                              Debbie Lovell                        59,537
                              Robert and Sharlene                  25,000
                              Marsh
                             Shane and Kristina                    25,000
                             Marsh
                              Todd Marsh                             5,000
                              Gary Martin                          50,000
                              Pam Martin                           52,500
                              James Milligan                      123,875

  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
                      Case 2:04-cr-00118-LKK Document 240 Filed 09/10/09 Page 8 of 9
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:04CR0118-001                                                                    Judgment - Page 8 of 9
DEFENDANT:                    ROBERT OLIVER

                              Robert Morgan                           33,900
                              Kitt Navo                               13,250
                              Pamela Neifert                          15,300
                              Floretta Nunes                          80,000
                              Dee Pagan                               50,000
                              David Peters                            88,755
                              William Shy                             63,500
                              Winnie Shy                            183,500
                              Bernie Taddy                            20,000
                              Jesse Vaughn                            71,250
                              Total Restitution                    $2,821,547

*The Court orders restitution to Primerica in the amount of $50,000, for funds Primerica paid to victim
Craig Landis. 18 USC 3664(j)(1) directs, if a victim has received compensation from insurance or
another source, the court shall order restitution be paid to the person who provided or is obligated to
provide compensation, but the restitution order shall provide that all restitution be paid to victims required
by the order before any restitution is paid to such a provider of restitution. Thus, the total restitution
amount increases to $2,871,547.


[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
       Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ U]      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [U] The interest requirement is waived for the                [ ] fine          [U] restitution

       [ ] The interest requirement for the                 [ ] fine [ ] restitution is modified as follows:




[]     If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[]     If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.



  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
                      Case 2:04-cr-00118-LKK Document 240 Filed 09/10/09 Page 9 of 9
AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:04CR0118-001                                                                               Judgment - Page 9 of 9
DEFENDANT:                   ROBERT OLIVER

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [ ] Lump sum payment of $              due immediately, balance due

         []        not later than  , or
         []        in accordance with            [ ] C,   [ ] D,   [ ] E, or            [ ] F below; or

B    [U]Payment to begin immediately (may be combined with                     [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of                      (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within     (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
         time; or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:


[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:
